Case 1:17-cv-00719-GMS Document 36 Filed 02/02/18 Page 1 of 2 PageID #: 350
 Case 1:17-cv-00719-GMS Document 35 Filed 01/30/18 Page 1of2 PagelD #: 348




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

POST MEDIA SYSTEMS LLC,

                      Plaintiff,                   Civil Action No. 17-719-GMS

       v.

DEEZER S.A. and DEEZER INC.,                       JURY TRIAL DEMANDED


                      Defendants.



                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a), IT IS HEREBY STIPULATED by the parties, subject

to the approval of the Court, that all claims brought by plaintiff Post Media Systems LLC against

defendants Deezer S.A. and Deezer Inc. and all counterclaims brought by defendants are

dismissed with prejudice. It is further stipulated that all attorneys' fees and costs are to be borne

by the party that incurred them.




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  Case 1:17-cv-00719-GMS Document 36 Filed 02/02/18 Page 2 of 2 PageID #: 351
  Case 1:17-cv-00719-GMS Document 35 Filed 01/30/18 Page 2 of 2 PagelD #: 349




 Dated: January 30, 2018

 DEVLIN LAW FIRM LLC                     GREENBERG TRAURIG, LLP


   Isl Timothy Devlin                    Isl Gregory E. Stuhlman
  Timothy Devlin (No. 4241)              Gregory E. Stuhlman (#4765)
  1306 N. Broom Street, lst Floor        The Nemours Building
  Wilmington, DE 19806                   1007 North Orange Street, Suite 1200
· (302) 449-90 I 0                       Wilmington, Delaware 1980 I
  tdev lin@devlinlawfirm.com             Telephone: (302) 661-7000
                                         stuhlmang@gtlaw.com
 Attorneys for Plaintiff
                                         Attorneys for Deezer Inc.




 SO ORDERED this     __2__ ~of&, 2018.




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